                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 1:20-cv-00954-WO-JLW

 FARHAD AZIMA,

                   Plaintiff,
                                         DEFENDANTS’ MEMORANDUM
   v.
                                          IN SUPPORT OF MOTION TO
 NICHOLAS DEL ROSSO and                  STAY DISCOVERY PENDING A
 VITAL MANAGEMENT SERVICES,                RULING ON MOTIONS SUB
 INC.,                                     JUDICE AND TO PROVIDE
                                         JUDICIAL NOTICE OF RULING
                   Defendants.           IN FOREIGN PROCEEDING ON
                                                 PRIVILEGE

                 Expedited Briefing and Relief Requested

        NOW COME Defendants Nicholas Del Rosso (“Del Rosso”) and Vital

Management Services, Inc. (“VMS”) (collectively, “Defendants”), and pursuant

to Rule 26(c) of the Federal Rules of Civil Procedure (“Rule(s)”), hereby submit

the following memorandum in support of their Motion to Stay Discovery

Pending a Ruling on Motions Sub Judice (the “Motion”), requesting that the

Court stay all third-party discovery and VMS’s upcoming Rule 30(b)(6)

deposition pending a ruling on the several discovery motions heard on March

7, 2023.    Defendants also respectfully provide judicial notice of a recent

decision by the High Court of Justice of England and Wales (“High Court”)

bearing directly on motions pending before the Court on the assertion of

attorney-client privilege and the work-product doctrine as to various discovery

requests. Finally, Defendants ask the Court to shorten the briefing deadlines




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and issue an expedited ruling on this Motion, prior to the currently scheduled

Rule 30(b)(6) deposition of VMS on May 17, 2023.

                              INTRODUCTION

      Defendants are constrained to file this additional motion in light of

Plaintiff Farhad Azima’s (“Plaintiff” or “Azima”) continuing efforts to use the

discovery process to pressure and harass Del Rosso and VMS. Plaintiff has

engaged in a concerted effort to circumvent this Court’s consideration of

several issues which are now pending before the Court.        The parties have

extensively briefed and argued those issues, which are now sub judice.

      As the Court is aware, presently pending before the Court are objections

by Defendants—and third parties—to Plaintiff’s discovery on grounds that it:

(1) exceeds the proper scope of discovery in light of this Court’s dismissal of 9

of 11 counts of the Complaint, ruling that Plaintiff’s substantive and

“dependent civil conspiracy claim[s are] limited to the 2018-2019 conduct”

involving the republication of Plaintiff’s data (see D.E. 65 at pp.17–18, 23–25)

(the “12(b)(6) Order”); (2) seeks material protected by the attorney-client

privilege and/or attorney work-product doctrine, and (3) is improperly being

sought for use in other proceedings pending elsewhere. (See, e.g., D.E. 130,

142, 188). The parties’ arguments on these issues—raised in several pending

discovery motions—were heard by the Court on March 7, 2023.



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         Rather than waiting for the Court to rule on the threshold discovery

issues set forth above, since the March 7, 2023 hearing, Plaintiff has (a) served

at least 15 third-party subpoenas, see Exhibits A–O1, (b) forecasted an overly

broad set of topics which they intend to inquire about during VMS’s upcoming

Rule 30(b)(6) deposition, which is presently scheduled for May 17, 2023, see

Exhibit P, and (c) continued his harassing tactics of surveilling Del Rosso, as

was revealed previously (see D.E. 107-1–6).

         As to avoid further time and expense on piece-meal challenges to this

newly issued and forecasted discovery, which would result in yet another re-

hashing of the parties’ positions on the three threshold issues noted above,

Defendants request that the Court stay all third-party discovery and VMS’s

upcoming Rule 30(b)(6) deposition until the Court rules on the several pending

discovery motions heard on March 7, 2023.

         In addition, we write to inform the Court of a decision by the English

High Court which bears directly on whether the attorney-client privilege or

work product doctrine are properly asserted as to work conducted by, or on

behalf of, Dechert LLP (“Dechert”) in connection with its representation of Ras

al Khaimah (“RAK”) and its related entities. See Ex. Q, discussed infra.




1   All exhibits cited herein are attached to the corresponding Motion.

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                                    BACKGROUND

    A. Origins Of This Lawsuit.

       This lawsuit is the attenuated byproduct of a 2016 commercial dispute

in the High Court between RAK’s sovereign wealth fund, the RAK Investment

Authority (“RAKIA”), and Azima, captioned RAK Inv. Auth. v. Azima, Case No.

HC-2016-002798 (filed Sept. 30, 2016) (the “U.K. Proceeding”). In that lawsuit,

RAKIA claimed that Azima engaged in wide-ranging fraud and corruption in

his business dealings with RAKIA, largely evidenced by information which

RAKIA claims it obtained via publicly available internet sources. Azima

brought hacking counterclaims in the same action.2

       A trial was held in the U.K. Proceeding in January and February 2020,

and a judgment was given by the High Court on May 22, 2020 (the “Approved

Judgement”). In the Approved Judgment, the High Court ruled that Azima


2 Azima first brought his hacking claims against RAKIA in the District of Columbia, alleging
that the information RAKIA claimed to have obtained via publicly available resources was
actually information that RAKIA obtained through its commissioned hacking of Azima’s
personal and business laptops from October 2015 to August 2016, and that RAKIA further
commissioned the publishing of that information in an effort to “extort[ ] money . . . and
inflict[ ] unfair competitive injury” on Azima. See Complaint at ¶ 1, Azima v. RAK Inv. Auth.,
No. 16-cv-1948 (KBJ) (D.D.C. filed Sept. 30, 2016), D.E. 1 (the “D.C. Action”). The D.C. Action
was ultimately dismissed in 2019 due a forum selection clause that applied to Azima’s claims,
located in a 2016 settlement agreement between RAKIA and Azima (the “2016 Settlement
Agreement”), designating the courts of England and Wales the exclusive jurisdiction. Azima
v. RAK Inv. Auth., 926 F.3d 870, 879 (D.C. Cir. 2019). Thus, Azima was forced to pursue his
hacking claims as counterclaims in the U.K. Proceeding.

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had been involved in bribery and fraud. RAK Investment Authority v. Azima

[2020] EWHC 1327 (Ch) [159, 246, 250, 381].

      With regard to Azima’s hacking counterclaims, the High Court was “not

satisfied on the balance of probabilities that RAKIA was responsible for the

hacking of Mr Azima’s emails” and that even if it had found RAKIA was

responsible for the hack, it “would not necessarily have excluded the illicitly

obtained evidence as, without it, RAKIA would have been unable to prove its

claims and Mr Azima would have been left with the benefit of his seriously

fraudulent conduct.” Id. at ¶¶381, 384.

      Nevertheless, on March 12, 2021, the U.K Court of Appeal upheld the

fraud and bribery judgment against Azima, but remitted Azima’s hacking

counterclaims for a retrial. See RAK Investment Authority v. Azima [2021]

EWCA Civ. 349 [147–148]. Significantly, the U.K. Court of Appeal’s decision

to remit the hacking claims for retrial was based on the witness statement of

Jonas Rey, who alleged that he had been told by a former employee of

CyberRoot Risk Advisory Private Ltd. (“CyberRoot”), Vikash Pandey, that

CyberRoot was used by Defendants to hack Azima’s data. See RAK Investment

Authority v. Azima [2021] EWCA Civ. 349 [130–147]. Subsequent to that

ruling, Pandey submitted a sworn statement indicating that he had made no

such statements, and to the contrary, had been offered a lucrative consulting

agreement in exchange for his willingness to support Plaintiff’s false narrative.

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(See D.E. 159, at pp.7–9).    The retrial of Azima’s hacking claims is now

scheduled for May 2024.

   B. Azima Pursues His Hacking Claims In Other Jurisdictions.

      Faced with the prospect of a retrial of his hacking claims in the U.K.

Proceeding, Plaintiff filed lawsuits against Defendants and others in multiple

forums, including the present lawsuit in the Middle District of North Carolina

(filed October 15, 2020), and another in the Southern District of New York, see

Azima, et al. v. Dechert LLP, et al., No. 22-cv-08728 (S.D.N.Y. filed October 13,

2022) (the “S.D.N.Y. Action”), seeking to discover who hacked his data.

      Notably, the S.D.N.Y. Action and the U.K. Proceeding involve a broader

range of conduct than the present lawsuit. Those cases generally allege that

RAK (1) had engaged in mistreatment of those perceived to be hostile to RAK,

(2) targeted Azima after it was unsuccessful in negotiating a settlement with

one of those individuals, (3) first hacked Azima’s data and then sued him in

the U.K, (4) then published that information on the internet in order to harm

his reputation, and (5) finally, engaged in a concerted effort to cover-up its

hacking scheme by bribing witnesses and creating false documents.

      In contrast, here, this Court methodically went through each of

Plaintiff’s wide-ranging claims and found that they were time-barred,

dismissing Azima’s hacking claims, and ruling that only his North Carolina

misappropriation of trade secrets claim and contingent civil conspiracy claim

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could proceed, limited to allegations of Defendants’ purported commissioning

of a third-party—CyberRoot—to republish Azima’s data in 2018 and 2019.

(See D.E. 65, at 17–18, 23–25).

    C. Plaintiff Initiates A Campaign Of Overbroad And Harassing
       Discovery In This Matter, In Furtherance Of His Litigation
       Elsewhere.

       Despite the Court’s significant narrowing of the issues remaining in this

case by way of its 12(b)(6) Order, Plaintiff has initiated a campaign of

expansive and harassing discovery into the broader allegations in the S.D.N.Y.

Action and the U.K. Proceeding (see, e.g., D.E. 179, at pp.3–7), in addition to

individuals and entities completely irrelevant to any of Plaintiff’s broader

allegations, see, e.g., D.E. 199 (Declaration of Craig Evers stating he stopped

working with Defendants in “early 2014” and “had never heard of Farhad

Azima until [he] received the Subpoenas”).3 In addition, during discovery in

this matter, Del Rosso has been subjected to unnecessary and harassing

surveillance, (see D.E. 107-1–6), which we believe has persisted over the course

of the last month.

       Defendants—as well as third parties—have repeatedly objected to

Plaintiff’s aggressive and overbroad discovery in this case, both affirmatively



3This likely because Plaintiff has been unable to conduct discovery on his broader allegations
in the S.D.N.Y. Action, where the court has stayed all discovery pending consideration of the
pending motions to dismiss. See Order, Azima, et al. v. Dechert LLP, et al., No. 1:22-cv-08728
(S.D.N.Y.), D.E. 104.

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by way of serving motions to quash and/or for protective order, and defensively

by way of opposing Plaintiff’s motions to compel. (See, e.g., D.E. 122, 142, 159,

and 193). As noted above, these motions generally center on three threshold

discovery issues: (1) the applicable scope of discovery in this case in light of the

Court’s 12(b)(6) Order; (2) the applicability of the attorney-client privilege or

attorney-work product protections to, principally, Defendants’ work for

Dechert in furtherance of its representation of RAK and its related entities;

and (3) the fact that Plaintiff is improperly seeking discovery for use in

litigation pending elsewhere.

         On March 7, 2023, this Court heard arguments on 9 pending discovery

motions: three filed by Defendants, three filed by Plaintiff, and three filed by

subpoenaed third parties (collectively, the “Discovery Motions”).4 During oral

argument, Plaintiff’s counsel conceded that discovery had in fact been

impacted directly by this Court’s dismissal of 9 of 11 counts of the Complaint.

Specifically, Plaintiff’s counsel admitted that “Judge Osteen’s order changed

the nature of this case” and “the trade secret claim [remaining in the case] is

2018 and 2019.” (Audio recording of March 7 Hearing, Part 3, 16:41 – 18:42).

Plaintiff’s counsel nevertheless claimed at oral argument that Plaintiff needed

discovery going back all the way to 2014, covering the period during which the




4   See D.E. 122, 130, 133, 136, 142, 144, 150, 154, and 188.

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alleged hacking took place, events prior to that period, as well as documents

and information post-dating the alleged disclosure of Azima’s data. Further,

Plaintiff’s counsel argued that any assertions of privilege relating to Dechert’s

representation of RAK was overcome by the crime-fraud exception. As the

Court is aware, these Discovery Motions remain pending.

   D. Plaintiff Attempts to Circumvent The Court’s Consideration Of
      The Pending Discovery Motions By Persisting With Overbroad
      And Harassing Discovery.

      Notwithstanding the fact that the proper scope of discovery and the

applicability of the attorney-client privilege/work-product doctrine is currently

sub judice, Plaintiff has served at least 15 third-party subpoenas since the

March 7, 2023 hearing without any apparent acknowledgment of the discovery

dispute. Defendants—and several third parties—believe that these subpoenas

once again seek discovery (1) beyond the scope of this case, (2) protected by the

attorney-client privilege and/or work-product doctrine, and (3) in furtherance

of Plaintiff’s other lawsuits pending in other jurisdictions.

      Specifically, Plaintiff has served the following subpoenas on third

parties, following oral argument on March 7, 2023:

          First Citizens Bank & Trust Co. Return date: 4/7/23. Attached as
           Exhibit A.

          Richard T. Garcia. Return date: 4/5/23. Attached as Exhibit B.

          NTi/ Philip Renzulli. Return date: 4/5/23. Attached as Exhibit C.


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          NTi. Return date: 4/5/23. Attached as Exhibit D.

          Branch Metrics, Inc. Return date: 4/7/23. Attached as Exhibit E.

          Cloudinary, Inc. Return date: 4/7/23. Attached as Exhibit F.

          KARV Communications, Inc. Return date: 4/7/23. Attached as
           Exhibit G.

          Craig Evers (documents).         Return date 4/7/23.    Attached as
           Exhibit H.

          Craig Evers (deposition). Deposition date: 4/12/23. Attached as
           Exhibit I.

          Meta Platforms, Inc.       Return date: 4/10/23.        Attached as
           Exhibit J.

          Emirates. Return date: 4/12/23. Attached as Exhibit K.

          Bank of New Hampshire.          Return date: 4/24/23.   Attached as
           Exhibit L.

          Passumpsic Bank Corporation. Return date: 4/24/23. Attached as
           Exhibit M.

          WeTransfer Corporation.         Return date: 4/24/23.   Attached as
           Exhibit N.

          Richard T. Garcia (deposition).        Deposition date:      5/2/23
           (rescheduled from 4/25/23). Attached as Exhibit O.

      Furthermore, Plaintiff filed an Application for Order Enforcing

Subpoena Duces Tecum in the Eastern District of North Carolina (the

“Application”) on April 17, 2023, seeking enforcement of the subpoena Plaintiff

issued to American Express on January 23, 2023, see Azima v. Del Rosso, et al.,

Case No. 5:23-mc-00016-BO, D.E. 1 (E.D.N.C. filed Apr. 17, 2023), which is

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subject to Defendants’ pending motion to quash and for protective order heard

by this Court on March 7, 2023 (see D.E. 154).                   The Application

mischaracterizes the motion to quash and for protective order as only a “motion

to quash,” and provides no notice whatsoever to that court about either (1) the

dispute over the scope of discovery; or (2) that this dispute regarding Plaintiff’s

American Express subpoena has been heard by this Court and is pending

decision.

        In addition, in an April 5, 2023 letter to Defendants, Plaintiff forecasted

a broad set of topics which he intends to inquire about during the upcoming

Rule 30(b)(6) deposition of VMS, presently scheduled for May 17, 2023. See

Exhibit P (the “Rule 30(b)(6) Letter”).        Indeed, these topics cover every

possible factual issue surrounding the broader lawsuits brought by Azima in

other forums, namely the S.D.N.Y. Action and the U.K. Proceeding, but fail to

include any factual matters surrounding WeTransfer and the alleged

conspiracy with CyberRoot to republish Azima’s data in 2018 and 2019. See

id.

      E. Subsequent Authority from the English High Court Bears
         Directly On The Attorney-Client Privilege And Work-Product
         Doctrine Issue Here.

        Lastly, in another related lawsuit against Dechert brought by Karam Al

Sadeq (“Al Sadeq”)—the former general counsel of RAKIA—filed in the High

Court of Justice of England and Wales, Queen’s Bench Division, captioned Al

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Sadeq v. Dechert LLP, et al., Claim No. QB-2020-000322,5 Dechert asserted the

same privilege and work-product protections that Defendants now assert

here—namely, that documents relating to Dechert’s representation of RAK are

governed      by     applicable      attorney-client       and     litigation     privileges,

notwithstanding arguments that a crime-fraud exception to these protections

applies. The High Court sustained those objections by Dechert and rejected

arguments that any such privileges could be overcome by the crime fraud

exception. See Al Sadeq v. Dechert LLP, et al. [2023] EWHC 795 (KB) [130–

131, 137–138, 185–186, 200] (A copy of that opinion issued on April 5, 2023,

which is discussed further below, is attached as Exhibit Q). That ruling

forecloses the identical argument raised by Plaintiff now pending before the

Court—namely, that any assertion of privilege by Dechert or RAK fall within

the crime-fraud exception.

                                  LEGAL STANDARD

       “This Court has the broad inherent power to stay discovery until

preliminary issues are settled” in order to “achieve equity and to ensure the

efficient management of its docket.” Mystic Retreat Med Spa & Weight Loss

Ctr. v. Ascentium Cap., LLC, 2022 WL 16836202, at *1 (M.D.N.C. Sept. 15,


5 In the S.D.N.Y. Action, Azima alleged that Al Sadeq was targeted by RAK, Dechert, and
Defendants, as part of a scheme to harm the reputations of any perceived enemies of RAK.
See, e.g., Complaint at ¶ 39, Azima, et al. v. Dechert LLP, et al., No. 1:22-cv-08728 (S.D.N.Y.
filed October 13, 2022), D.E. 1.


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2022). “Rule 26(c) of the Federal Rules of Civil Procedure authorizes the court

to issue orders establishing limitations on discovery,” and the “[t]he scope and

conduct of discovery are in the sound discretion of the trial court.” Smith v.

City of Greensboro, 2020 WL 13646253, at *1 (M.D.N.C. July 2, 2020) (citations

omitted); see also Fed. R. Civ. P. 26(c).

      “In deciding whether to stay discovery pending resolution of a pending

motion, the Court inevitably must balance the harm produced by a delay in

discovery against the possibility that the motion will be granted and entirely

eliminate the need for such discovery.” Simpson v. Specialty Retail Concepts,

Inc., 121 F.R.D. 261, 263 (M.D.N.C. 1988). Where the pending motion is non-

dispositive, courts have considered the interests of justice and judicial economy

in their analysis. See, e.g., Wymes v. Lustbader, No. WDQ-10-1629, 2012 WL

1819836, *5-6 (D. Md. May 16, 2012) (granting motion to stay discovery to

prevent “unnecessary litigation expenses”).

                                  ARGUMENT

I.    THE COURT SHOULD STAY DISCOVERY PENDING A RULING
      ON THE OUSTANDING DISCOVERY MOTIONS

      It has long been recognized that “the power to stay proceedings is

incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.” Landis v. North American Corp., 299 U.S. 248, 254 (1936).


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“Courts have identified factors that are relevant to the expeditious and

comprehensive disposition of the causes of action on the court’s docket.” Mystic

Retreat Med Spa & Weight Loss Ctr., 2022 WL 16836202, at *1 (cleaned up).

“These factors are: (1) the interests of judicial economy; (2) the hardship and

equity to the moving party in the absence of a stay; and (3) the potential

prejudice to the non-moving party in the event of a stay.” Id. (cleaned up). All

of these factors militate in favor of staying discovery pending a ruling on the

Discovery Motions.

      A. Interests of Judicial Economy

      There is no reason why the parties or this Court should endure the

inevitable motions practice that will result—and has already resulted—as a

consequence of the now 15 additional subpoenas Plaintiff has issued since the

March 7 hearing, and the expansive deposition topics that Plaintiff forecasts

in his Rule 30(b)(6) Letter. Indeed, a ruling on the pending Discovery Motions

will largely impact/clarify the parameters of discovery, and the parties’

disagreements on the same, and could potentially moot any current and

forthcoming challenges to Plaintiff’s newly issued discovery. As such, a stay of

discovery pending this Court’s ruling on the Discovery Motions would

eliminate any need for piece-meal challenges to Plaintiff’s newly issued and

forecasted discovery, avoiding a duplicative re-hashing of the parties’

arguments and positions on the three threshold issues already pending before

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the Court—i.e., (1) the scope of discovery, (2) the applicability of the attorney-

client privilege and work-product doctrine, and (3) the propriety of seeking

discovery for use in litigation elsewhere. Thus, a temporary stay of discovery

here would benefit the Court and the parties, avoiding both an overburden of

the Court’s docket and exacerbation of the parties’ litigation expenses.

       To be sure, Plaintiff’s latest barrage of discovery implicates the very

same issues already pending before the Court. As a clear example, due to

Plaintiff’s second subpoena served on First Citizens Bank & Trust Co. (“First

Citizens”), dated March 23, 2023, Defendants were forced to file yet another

motion to quash and for a protective order on the same grounds—i.e.,

overbreadth in light of the Court’s Rule 12(b)(6) order effectively limiting the

applicable scope of discovery—in addition to notifying the Court that Plaintiff

improperly served this second subpoena on First Citizens in contravention of

a the Court’s order staying production of this same information.6 (See D.E. 196,

197). First Citizens has taken the position that it is waiting until the Court

rules on the pending motion before it makes any production; nonetheless,

Plaintiff has continued to harass First Citizens, without copying counsel for



6As the Court is now aware, after the Court stayed production pursuant to Plaintiff’s first
subpoena to First Citizens (pending the Court’s decision on Defendants’ first motion
challenging the same), Plaintiff’s response was to serve a second subpoena on First Citizens
requesting a subset of the same information previously requested from First Citizens, despite
the discoverability of that information being an issue that is presently before the Court. (See
D.E. 197).

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Defendants, contending that production should be made prior to the Court’s

determination of the dispute. See Ex. R, April 19, 2023 email string between

Kristin Caldaro (First Citizens) and Calvin Lee (Counsel for Plaintiff).

      As another example, Plaintiff’s newly issued subpoenas to Northern

Technology, Inc. (“NTi”) seek the same documents and information which have

been requested from Defendants (see D.E. 131-1 (requesting, inter alia, all

documents related to NTi prepared for Defendants)), where the discoverability

of this information is already before the Court. (See D.E. 130). Rather than

waiting for the Court to rule on the propriety of that request in light of the

12(b)(6) Order and Defendants’ arguments on the protected nature of this

information (i.e., attorney-client privilege and work-product doctrine), Plaintiff

went ahead and subpoenaed the same documents from NTi, as well as its

former principals (including a deposition subpoena). See Exs. B–D, O.

      As a last example, Plaintiff’s Rule 30(b)(6) Letter forecasts inquiry into

matters including all details of Plaintiff’s work for Dechert performed in

furtherance of Dechert’s representation of RAK and its related entities. See

Ex. P, at p.2.    Defendants already moved to foreclose inquiry into these

matters, primarily on the basis of privilege, see D.E. 142, 143, and when asked

about these matters during Del Rosso’s deposition, counsel for Defendants

instructed Del Rosso not to answer, see D.E. 179, at pp.12–15. Absent a ruling

on this issue—i.e., the applicability of the attorney-client privilege and work-

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product protections to Defendants fraud examination work for Dechert in

furtherance of Dechert’s representation of RAK and its related entities—

Defendants will continue asserting these protections, as RAK has prohibited

Del Rosso from disclosing this information. See 182-4 (Letter from RAK’s

counsel).

      Indeed, as alluded to above, RAK’s assertion of privilege and work-

product protections to this information is bolstered by the recent opinion issued

by the English High Court in the lawsuit brought by Al Sadeq. See Ex. Q.

There, the High Court of Justice, King’s Bench Division, ruled on the same

issue, namely whether the attorney-client privilege and work product doctrine

were being properly asserted by Dechert in connection with documents or

information relating to Dechert’s representation of RAK.              Specifically,

referring to Dechert’s showing made in support of the assertion of RAK’s

privilege, the High Court court ruled:

      Mr Edey outlined the nature of Dechert’s role for the Dechert
      Clients in the Investigation in relation to the Alleged Fraud by
      reference to the 2013 Engagement Letter and the 2014
      Engagement Letter. It is clear that the defendants were engaged
      as lawyers to advise and assist their clients. This included helping
      their clients to determine what had occurred for the purpose of
      exploring their legal options to recover these losses. All of this work
      was undertaken in a relevant legal context and involved advice
      and assistance as to what its clients might prudently and sensibly
      do in that context. It was artificial and wrong to attempt to
      separate the defendants’ investigatory work into factual matters
      from their role as lawyers.


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Ex. Q, at ¶130. The import of that ruling on Plaintiff’s outstanding discovery

requests is clear, upholding assertions of privilege under U.K. law. Because

Del Rosso and VMS were retained by Dechert in connection with that same

representation,   any    such   privileges   extended    also   to   Defendants’

communications and work for Dechert. Plaintiff should not be allowed to use

litigation in this Court to circumvent those privileges. It is especially improper

for Plaintiff to do so by foisting discovery on third parties before the Court can

rule on these issues as presented in the pending Discovery Motions.

      Thus, a stay on discovery is warranted here in order to prevent the case

docket from becoming unmanageable, to prevent the excess spending of judicial

resources, and to prevent unnecessary and duplicative litigation expenses. Cf.

Rullan v. Godan, No. CCB-12-2412, 2014 WL 5464835, at *2 (D. Md. Oct. 27,

2014) (granting motion to stay discovery where discovery was “extremely

contentious,” because the parties had filed motions or sought assistance from

the court “regarding[] virtually every aspect of discovery thus far,” and

discovery was affected by ongoing, multiple pending actions, and therefore

judicial economy warranted stay in current matter).




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      B.    The Burden, Hardship, And Equity To The Moving Party,
            As Well As The Parties Impacted By The Subpoenas,
            Militates In Favor Of Granting A Stay.

      In addition to the burden on this Court, courts also consider the hardship

and equity to the moving party or those subpoenaed or subject to discovery.

See, e.g., Mystic Retreat supra.

      Here, the hardship and equity to the parties impacted by the subpoenas,

as well as the parties to this lawsuit, militates in favor of a stay. Obviously,

unless a stay is issued, those third parties subpoenaed for records will be

required to review, assemble and produce potentially large quantities of

documents, when that entire exercise may be rendered unnecessary based on

the Court’s ruling on the pending Discovery Motions.

      Moreover, absent a stay, Defendants will be tasked with the burden of

continuously objecting to Plaintiff’s discovery by way of piece-meal motions

practice or frequent objections at VMS’s Rule 30(b)(6) deposition, asserting the

same threshold discovery issues described supra, which ultimately may be

rendered moot by the Court’s ruling on the pending Discovery Motions.

      C. Potential Prejudice To And Plaintiff’s Interest In Production
         Prior To A Ruling On Outstanding Motions.

      The last factor to be considered is the prejudice to Plaintiff if he is

temporarily deprived of the documents he is seeking until the Court rules on

the outstanding motions. See Mystic Retreat, supra. The court also considers


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the “interests served by demanding compliance with the subpoena,” which is

an inquiry that focuses on “the relevance of the requested information to the

underlying litigation, or the lack thereof.” Fed. R. Civ. P. 45(d)(3)(A)(iv).

       Here, Plaintiff will not be prejudiced by a temporary stay of discovery.

Any potential prejudice to Plaintiff is mitigated by the fact that Plaintiff too

will be spared the time and expense of re-litigating the same threshold issues

before Court. Further, there is no present circumstance, specific event, or issue

which mandates immediate production of the discovery Plaintiff seeks, much

less, discovery which would justify ignoring the threshold discoverability

arguments now being considered by the Court. The Discovery cut-off is months

away. (See D.E. 93).

II.    THE COURT SHOULD EXPEDITE THE BRIEFING SCHEDULE
       AND ISSUE A RULING PRIOR TO MAY 17, 2023.

       Plaintiff noticed the Rule 30(b)(6) deposition of VMS to take place on May

17, 2023. Since the relief requested in this Motion directly impacts the date of

that deposition, Defendants ask that the Court set a briefing schedule which

would allow for the Court to decide the Motion prior to May 17, 2023. The

briefing schedule proposed by Defendants is ten (10) days for Plaintiff to

respond to the Motion, and four (4) days for Defendants to reply. This would

allow for briefing on this Motion to close on May 5, 2023, giving the court eleven

(11) days to (potentially) decide the Motion prior to May 17, 2023.


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                                CONCLUSION

      WHEREFORE, for the foregoing reasons, Defendants respectfully

request that this Court (a) temporarily stay all third-party discovery and

VMS’s upcoming Rule 30(b)(6) deposition pending a ruling on the Discovery

Motions heard on March 7, 2023; and (b) upon a ruling on the Discovery

Motions, hold a status conference where the Parties and the Court can address

the effect of that ruling on all outstanding discovery.

      In addition, in light of the upcoming May 17, 2023 Rule 30(b)(6)

deposition of VMS, as well as the several outstanding third-party subpoenas,

Defendants request that briefing be expedited such the response is due ten (10)

days after the filing of this Motion; and the reply is due five (5) days after the

response.




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 Respectfully submitted, this the 21st day of April, 2023.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of April 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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                     WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that the foregoing document contains 4698 words, according to the word

count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the word limitation.

      Respectfully submitted this 21st day of April, 2023.

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                 LOCAL RULE 37.1(a) CERTIFICATION

      Pursuant to Local Rule 37.1(a), I hereby certify, subject to Fed. R. Civ.

P. 11, and as set out in further detail in Paragraph 9 of the Motion, that after

personal consultation and diligent attempts to resolve differences, the parties

are unable to reach an accord regarding the relief requested in this Motion.

      Respectfully submitted this 21st day of April, 2023.


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